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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

WILSHIRE INSURANCE COMPANY,
‘ CIVIL ACTION NO,
Plaintiff. : 1:18-cv-277 NLH/KMW
v. :

CENTERTON HOSPITALITY GROUP,
LLC dba CENTERTON COUNTRY CLUB
& EVENT CENTER and TEN22 BAR &
GRILL, DAVID KENELIA, ROBERT
FORD and HOWARD LEE BYERS,

Defendants.
STIPULATION OF DISMISSAL

Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), it is hereby stipulated and
agreed by and among the Plaintiff, Wilshire Insurance Company (“Wilshire”) and appearing
Defendants, David Kenelia (“Kenelia”) and Robert Ford (“Ford”) that Plaintiff's claims be
dismissed with prejudice with cach party to bear its own costs.

Respectfully submitted,
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